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IN THE UNITEI) sTATEs DISTRICT CoURT _n,£g BY a/f* ma
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wEsTERN DIvIsIoN 05 AU¢; 12 AH mg 0 l
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MARK CHRIsToPHER QBERT ) ::CLEPM§ _p, mgm
and LESLEY erRT, ) ~“»‘L+ er .-':’l, ::::él»t°Hls
)
Plaintiffs, )
)
v. ) case No. 03-2135 D/v
)
THE PYRAMID, clTY or MEMPHIS, )
sHELBY CoUNTY GovERNMENT, )
PUBLIC BUILDING AUTHoRITY oF )
MEMPHIs AND sHELBY coUNTY, )
LEISURE MANAGEMENT )
INTERNATIONAL d/b/a LMI/HHI, LTD., )
sPEcTAcoR MANAGEMENT GROUP )
d/b/a sMG, )
)
Defendants. )
)

 

ORDER GRANTING IN PART AND DENYING IN PART MOTION OF DEFENDANT
CITY OF MEMPHIS FOR SUMMARY JUDGMENT

 

Before the Court is the motion (dkt. # 97) of Defendant City of Mernphis1 (“City” or
“Defendant”) for summary judgment as to Plaintift`s’ third amended complaint. Plaintiffs Mark
Christopher Obert and Lesley Obert (“Plaintiffs”) assert in their third amended complaint that
Defendant 1) discriminated against Ms. Obert in violation of the Americans with Disabilities Act
(“ADA”), 42 U.S.C. § 12101, et_seq;, 2) infringed upon Ms. Obert’s Constitutional rights in violation
of 42 U.S.C. § 1983, 3) are negligent per se for the injuries sustained by Plaintiffs, 4) engaged in

outrageous conduct, and 5) were negligent Plaintiffs seek injunctive and declaratory relief against

 

lDefendant correctly notes that the Memphis Police Department does not legally exist and
is not a proper party to this action. As the City of Mernphis is properly a Defendant, the Court j
grants summary judgment as to the Memphis Police Department.

with nine se and/or rem FncP on ¢E'[Q'O§ K_@/

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Defendant for Defendant’s alleged noncompliance with the Consent Order of Disposition (“Consent

Order”) entered on August 19, 1991, in Paralyged Veterans of America Mid South Chapter, et al. v.
Hackett et al., No. 91 -2462 (W.D. Tenn. 1991), and for Defendant’s alleged violation of the ADA.

 

Plaintiffs further seek damages for Mr. Obert’s loss of consortium resulting from Ms. Obert’s
injuries.

The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367. For the following
reasons, the Court GRANTS in part and DENIES in part Defendant’s motion for summary
judgment2
I. FACTUAL AND PROCEDURAL BACKGROUND

Plaintiffs Mark Christopher Obert and Lesley Obert, husband and wife, attended a George
Strait concert on March 8, 2002, at the Pyramid Arena (“Pyrarnid”) located in Memphis, Tennessee.
Third Am. Compl. ‘|l 14. Ms. Obert suffers from spina bifida and has been confined to a wheelchair
since birth. lg at ‘|1 15. On the date of the concert, Plaintiffs arrived downtown at least one hour
before the beginning of the concert. _I_g at ‘|1 14. Plaintiffs had attended other functions at the
Pyraniid and Were familiar With the facility’s available parking and seating options for handicapped
individuals _I_c_i_.

In accordance with the ingress and egress lane dedicated to handicap access, Plaintiffs assert
that they approached the Pyramid from Riverside Drive in an attempt to park in the handicap spaces
located on the South side of the facility. id at 11 17. The dedicated handicap lane allegedly was not
being used for handicapped access. § Plaintiffs assert that Memphis police officers told Plaintiffs

that the South side of the Pyramid had neither handicapped access nor handicapped parking spaces,

 

2Plaintiffs did not respond to Defendant’s motion for summary judgment, in spite of an
Order to Show Cause issued by the Court on April 11, 2005. Therefore, the motion is being
decided on the existing record.

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despite Plaintiffs’ protestations and request for handicapped access and parking § Plaintiffs
maintain that Mr. Obert then attempted to leave Ms. Obert on the North side of the Pyramid;
however, he was denied access. § at ‘[[ 18. Thereafcer, Mr. Obert allegedly sought to leave Ms.
Obert at the designated handicap drop-o ff zone located in front of the Pyramid, but again was denied
entry by Memphis police officers, who told him that there was no handicapped access available in
front of the Pyramid and the area was closed to all except those in limousines and church buses. §

After being denied access and parking at the Pyramid, Plaintiffs assert that they obtained
parking behind Café Francisco Restaurant, which is located several blocks southwest of the Pyramid.
§ at ‘|l 20. After parking, Plaintiffs proceeded toward the Pyramid. § at ‘|1 21. To reach the
Pyramid, Plaintiffs allege that they had to cross North Main Street where it intersected with North
Parkway. § A trolley track ran through the center of North Main Street. § As Ms. Obert crossed
the street, the tire of her wheelchair lodged in the trolley tracks, causing her to flip over the front of
the wheelchair and land on the street § at 11 22. The fall allegedly broke Ms. Obert’s leg
completely through in two separate places. § at 11 23. Ms. Obert maintains that she had a long and
painful recuperation. § at 25.

On March 7, 2003, Plaintiffs initiated the instant action against Defendants. On the same
day, Plaintiffs filed an action in state court against entities associated with the Memphis Area Transit
Authority (“MATA”) for the injuries Plaintiffs suffered as a result of Ms. Obert’s wheelchair
becoming lodged in the trolley tracks, Defendant moves the Court to grant summary judgment as
to Plaintiffs third amended complaint with respect to this Defendant.

II. LEGAL STANDARD
Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any

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material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(c). In other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial." Celotex Com. v. Catrett, 477 U.S. 317,
322 (1986).

The party moving for summary judgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. § at 325. This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., F ederal Practice and Procedure § 2727, at 35 (2d ed. 1998).

Facts must be presented to the court for evaluation. Kalamazoo River Study Group v.
Rockwell Int’l Corp., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that

would be admissible or usable at trial. 10a Charles A. Wright et al., Federal Practice and Procedure

 

§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for

summary judgment, Jacklm v. Schering-Plougl_i Healthcare Prods. §ales CoQ., 176 F.3d 921, 927

(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be

in a form that would be admissible at trial. Celotex, 477 U.S. at 324; Thaddeus-X v. Blatter, 175

 

 

F.3d 378, 400 (6th Cir. 1999).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in

a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Cogg.,

475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).

 

Justifiable inferences based on facts are also to be drawn in favor of the non-movant. Kalamazoo

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River, 171 F.3d at 1068.

Once a properly supported motion for summary j udgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Liberty Lobbj,g1 lnc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.

IIl. ANALYSIS

A. VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

Defendant first contends that Title III of the ADA does not apply to the City because it is a
public entity and Title 111 applies to private entities. Thus, to the extent that Plaintiffs’ third amended
complaint asserts a claim against the City under Title III of the ADA, the Court grants Defendant’s
motion for summary j udgment.

In its June 21, 2005 Order Granting Plaintiffs’ Motion for Summary Judgment (June 21 , 2005
Order), the Court granted summary judgment to Plaintiffs as to their second amended complaint’s
ADA Title 11 claim against the City. As the claim and the arguments have not changed in any
substantive way, the Court denies Defendant’s motion for summary judgment as to Plaintiffs ADA
Title II claim,

B. 42 U.S.C. § 1983

Defendant maintains that Plaintiffs have not offered proof of a specific City policy or a
failure to train or investigate as support for their § 1983 claim.

Title 42 of the United States Code, section 1983 states in pertinent part" L/“"`

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Every person who, under color of any statute, ordinance, regulation, custom, or

usage, of any State . . . subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws, shall be liable to the

party injured in an action at law, suit in equity, or other proper proceeding for redress.
42 U.S.C. § 1983. In Monell v. Dep’t of Social Servs., 436 U.S. 658, 691 (1978), the Supreme Court
held that municipalities may be subject to damages under 42 U.S.C. § 1983. However, the l\_/I_c§ell
Court made it clear that liability under § 1983 may not be imposed on a municipality merely because
it employed an individual who engaged in some form of unconstitutional conduct. S_e_e_ § at 691.
A municipality cannot be held liable for an injury caused by its agents or employees under § 1983
based on a theory of respondeat superior. B § lnstead, a municipality may only be liable for a
constitutional tort where the action occurred pursuant to a municipal policy, practice, or custom. §
In order to hold the municipality liable, the municipal policy must be the “moving force” behind the
constitutional violation. City of Canton v. Harris, 489 U.S. 378, 389 (1989). However, the
challenged policy need not be unconstitutional itself. Rather, a municipality may be liable if an
employee’s application of an otherwise constitutional policy leads to an unconstitutional result. w,
§ Either an affirmative policy or a policy of inaction can suffice to support municipal liability. §§§
Doe v. Claiborne County, 103 F.3d 495, 508 (6th Cir. 1996). Consequently, a cognizable § 1983
claim against a municipality includes allegations that (1) agents of the municipality, (2) while acting
under color of state law, (3) violated the plaintiff’ s constitutional rights, and (4) a municipal policy
or policy of inaction was the moving force behind the violation. Leatherman v. Tarrant County
Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 167-69 (1993).

In City of Canton v. Harris, the United States Supreme Court held that even when there is

no unconstitutional policy in effect, a failure to train can be the basis of a § 1983 claim. City of

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Canton, 489 U.S. at 387. “[I] f a concededly valid policy is unconstitutionally applied by a municipal

 

employee, the city is liable if the employee has not been adequately trained and the constitutional
wrong has been caused by that failure to train.

In the instant case, Plaintiff has alleged that Defendant, with deliberate indifference, failed
to take the appropriate actions necessary to ensure Plaintiffs’ access to the Pyramid. Thus, whether
Defendant’s policy as to directing traffic outside the Pyramid is unconstitutional itself or not,
Plaintiff has raised a genuine issue of material fact as to whether Defendant’s inaction, such as a
failure to train, was the moving force behind Plaintiffs’ injuries

Accordingly, the Court denies Defendant’s motion for summary judgment as to Plaintiffs’
§ 1983 claim.

C. STATE LAW CLAIMS
l. Negligence Per Se

As the Court discussed in the May 22, 2003 Order Granting In Part And Denying ln Part
Defendant City Of Memphis’ Motion To Dismiss, “a consent decree is not enforceable directly or
in collateral proceedings by those who are not parties to it even though they were intended to be
benefitted by it.” Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 750 (1975). A person who
is not a party to the consent decree has standing only to challenge the constitutionality of the consent
decree itself as it is applied to her. Vogel v. City of Cincinnati, 959 F.2d 594, 599 (6th Cir. 1992).
Thus, although the terms of the Consent Order were intended to benefit individuals, like Ms. Obert,
who require handicap access and accommodations, Plaintiffs may not proceed in bringing a cause
of action based on the terms of the Consent Order unless they challenge the constitutionality of the
terms of the Consent Order itself. Plaintiffs do not challenge the constitutionality of the terms of the

Consent Order, but instead seek merely to enforce those terms. Thus, Plaintiffs may not proceed in

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bringing their negligence per se claim, as it is premised solely on violations of the consent order.

Accordingly, the Court grants Defendant’s motion for summary judgment as to Plaintiffs’
claim of negligence per se.
2- Nsshsw

Defendant contends that Plaintiffs assert no specific allegations of negli gence against it. The
Court agrees. All allegations of negligence in Plaintiffs’ third amended complaint are directed to
Defendant SMG. Therefore, Defendant’s motion for summary j udgment as to Plaintiffs’ negligence
claim is granted
3. boss of Consortium and Outrageous Conduct

Although Defendant makes no specific arguments as to Plaintiffs’ claims of loss of
consortium and outrageous conduct, it does make a general assertion that summary jud gment should
be granted with respect to all of Plaintiffs’ state law claims because Defendant is immune from suit
pursuant to the Tennessee Governmental Tort Liability Act (“GTLA”), Tenn. Code Ann. § 29-20-
205. Defendant correctly notes that immunity is removed for civil rights claims, but contends that
immunity is restored if the action in question is a discretionary function.'

Title 29, Chapter 20, Section 205 of the Tennessee Code Annotated states that,

[i]mmunity from suit of all governmental entities is removed for injury proximately

caused by a negligent act or omission of any employee within the scope of his

employment except if the injury arises out of:

(1) the exercise or performance or the failure to exercise or perform a discretionary
function, whether or not the discretion is abused.

Tenn. Code Ann. § 29-20-205. Defendant argues that the acts complained of are discretionary
functions of the City and that therefore, the City is immune from liability.

The Tennessee Supreme Court has adopted the “planning-operational” test to determine

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whether a municipality’s act is within the scope of the “discretionary function” immunity. BM
v. City of Chattanooga, 826 S.W.2d 427, 430 (Tenn. 1992). Under this test, the City may not be held
liable for deliberate, policy-like decisions made within its discretion, but it may be held liable for
decisions that were purely functional or operational § Under the planning-operational test,
discretionary function immunity does not attach automatically to every act involving choice or
judgment because, to a greater or lesser degree, every act involves some discretion Williams v.
Shelby County Health Care Corp., 803 F.Supp. 1306, 1315 (W.D. Tenn. 1992). “Rather, the
underlying policy of governmental immunity is better served by examining (1) the decision-making
process and (2) the propriety of judicial review of the resulting decision.” § If an act is chosen
alier consideration or debate by those charged with planning or creating policies, it strongly suggests
that the decision is discretionary § “These decisions often result from assessing piiorities;
allocating resources; developing policies; or establishing plans, specifications, or schedules.” §

On the other hand, when a decision is based on “preexisting laws, regulations, policies, or
standards, [it] usually indicates that its maker is performing an operational act. Similarly operational
are those ad hoc decisions made by an individual or group not charged with the development of plans
or policies.” § Thus, discretionary function immunity does not apply when an official fails to
comply with laws or policies designed to guide his actions in a particular situation. McNabb v. City
of Memphis, 2004 WL 2375631 *3 (W.D. Tenn. 2004).

In the instant case, both the policy makers and the officers who denied Plaintiffs access to
the Pyramid were guided by “preexisting laws, regulations, policies, or standards” which left the
Defendant little room for discretion. Thus, the acts in question are operational in nature and
Defendant’s governmental immunity is not restored.

Defendant makes no substantive arguments concerning these state law claims. Without

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deciding the merits of the claims, the Court denies Defendant’s motion for summary judgment as
to Plaintiffs’ claims of outrageous conduct and loss of consortium
IV. CONCLUSION

For the foregoing reasons, the Court GRANTS Defendant’s motion for summary judgment
as to all claims against the Memphis Police Department, as it is not a legally-existing entity.
Moreover, the Court GRANTS Defendant’s motion for summary judgment as to Plaintiffs’ claims
of violations of Title 111 of the ADA, as well as Plaintiffs’ state law claims of negligence per se and
negligence The Court DENIES Defendant’s motion for summary judgment with respect to
Plaintiffs’ claims for violation of Title II of the ADA and Plaintiffs’ state law claims for loss of

consortium and outrageous conduct.

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NITED S'I`ATE DIS'I`RICT JUDGE

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